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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                               §          CASE NO. 23-30072-H1
                                     §
Rita M Thomas-Holman                 §
                                     §
                                     §
DEBTOR                               §          CHAPTER 13
        CHAPTER 13 TRUSTEE'S NOTICE OF ADJUSTMENT TO PLAN PAYMENT




         NOTICE IS HEREBY GIVEN, that on 10/20/2023 a Notice to Debtor, Trustee and Debtor's
Counsel of Mortgage Payment Adjustment was filed. No party in interest filed a motion seeking a stay of
the proposed adjustment within the 21 day time period specified in the notice. Therefore, pursuant to
Paragraph 4 of the Chapter 13 plan, the Trustee has adjusted the Chapter 13 plan payment.


         Effective with the 02/01/2024 plan payment, the Chapter 13 plan payment is decreased by the
sum of $3.00, for a total payment of $5,692.00. This decrease is effective to all subsequent plan
payments, unless otherwise ordered by the Court. Failure of the Debtor to comply with this adjustment
shall be grounds for dismissal of this case.


         The payment adjustments reflected in this notice shall be deemed the correct plan
payment effective on the dates indicated and BE FINAL AND BINDING ON ALL PARTIES
WITHOUT FURTHER ORDER OF THE COURT unless a party in interest objects to the
notice within 21 days from the date this notice is filed.




                                                              RESPECTFULLY SUBMITTED,

                                                              /s/ David G. Peake
                                                              David G. Peake, Trustee
                                                              9660 Hillcroft, Ste 430
                                                              Houston, TX 77096
                                                              (713)283-5400
                                                              (713)852-9084 Facsimile
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                                      CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing Trustee's Notice of Adjustment to
Plan Payment has been served electronically on all parties requesting electronic notice and has been
served on the listed parties (if listed) by mailing a copy of same to the address listed below via first class
mail November 28, 2023.


United States Trustee                Rita M Thomas-Holman                  JANE M MCLAUGHLIN
515 Rusk Avenue                      4310 Whitney Crest Court              77 SUGAR CREEK CENTER
Suite 3516                           Manvel, TX 77578                      BLVD., STE 600
Houston, TX 77002                                                          SUGAR LAND, TX 77478

                                            /s/ David G. Peake
                                          David G. Peake, Trustee
